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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,                                             COMPLAINT

                             Plaintiff,                  22 Civ. _____ (     )

                -against-
                                                         JURY TRIAL DEMANDED
 DOMENIC CALABRIGO, CURTIS (“CURT”)
 LEHNER, HASAN SARIO, and COURTNEY
 VASSEUR,
                   Defendants.


       Plaintiff Securities and Exchange Commission (“Commission”), for its Complaint against

Defendants Domenic Calabrigo (“Calabrigo”), Curtis (Curt) Lehner (“Lehner”), Hasan Sario

(“Sario”), and Courtney Vasseur (“Vasseur”) (collectively, the “Defendants”) alleges as follows:

                                          SUMMARY

       1.      From early 2016 through late 2018 (the “Relevant Period”), some or all of the

Defendants manipulated the stocks of at least nine microcap issuers.

       2.      As set forth in more detail below, the Defendants’ scheme for each stock followed

the same general formulation, which is often referred to as a “pump-and-dump” fraud. The
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Defendants and their associates obtained a controlling interest in the securities of a microcap

issuers through a series of transfers and purchase agreements with nominee shareholders. The

Defendants then used a network of offshore entities and brokerage accounts (“Offshore Trading

Platforms”, discussed further below) to deposit the shares in mostly offshore brokerage firms,

and in accounts that were not in their own names but rather were in the names of the Offshore

Trading Platforms or nominee entities.

        3.      Not only did the Defendants and their associates hide their control of the issuers

through the accounts and the nominee entities they used, but they also sought to hide their

control of these issuers by dividing up the shares in separate accounts such that none of the

accounts held more than 5 percent of the issuer’s outstanding float. By doing so, the Defendants

deceived the public, brokers, and regulators by knowingly avoiding the disclosure obligations of

Section 13(d) of the Securities Exchange Act of 1934, which would have informed investors of

their control of the issuers.

        4.      Once they had secretly obtained control of these issuers, the Defendants then

engaged in fraudulent schemes to profitably sell their shares.

        5.      The Defendants engaged in promotional activity such as sending emails and

setting up websites touting the stocks. The purpose of the promotional activity was to generate

interest among investors to purchase shares, and thereby generate liquidity into which the

Defendants profitably sold their shares.

        6.      The Defendants paid stock promoters clandestinely through conduit entities.

None of the promotional materials disclosed that the promotions were funded by people who

controlled the relevant issuer nor that those individuals would be selling their stock during the

“pump.”




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       7.      In addition, in advance of the promotional activity, the Defendants often directed

trading activity to increase trading volume. Their purpose was to induce innocent investors to

purchase the stock, based on the contrived appearance of active investor interest in the issuer.

       8.      After the “pump,” the Defendants “dumped” their stock. These sales were in

violation of the registration requirements of the federal securities laws, as the sales were not

registered with the Commission, and were not exempt from registration.

       9.      The Defendants’ stock sales were treated by the market as if they were sales by

ordinary investors, when, in actuality, the Defendants were dumping stock into the securities

markets on behalf of an undisclosed control group in violation of the laws governing such sales.

       10.     The Defendants then used the Offshore Trading Platforms, and other foreign

entities and bank accounts under their control, to distribute the sale proceeds.

       11.     As a result of these frauds, the Defendants and their associates yielded net

proceeds of over $39 million.

                                          VIOLATIONS

       12.     By virtue of the foregoing conduct and as alleged further herein, the Defendants

Calabrigo, Lehner, Sario and Vasseur have violated Sections 5(a) and (c) and 17(a)(1) and (3) of

the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 77e(a), 77e(c), and 77q(a)(1) and

(3)], Sections 9(a)(2) and 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15

U.S.C. §§ 78i(a)(2) and 78j(b)], and Rules 10b-5(a) and (c) thereunder [17 C.F.R. § 240.10b-5(a)

and (c)]. In the alternative, the Defendants aided and abetted each other’s violations of

Securities Act Sections 17(a)(1) and (3) [15 U.S.C.§ 77a(a)(1) and (3)] and Exchange Act

Sections 9(a)(2) and 10(b) [15 U.S.C. §§ 78i(a)(2) and 78j(b)] and Rules 10b-5(a) and (c) [17




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C.F.R. § 240.10b-5(a) and (c)].

       13.     Unless the Defendants are restrained and enjoined, they will engage in the acts,

practices, transactions, and courses of business set forth in this Complaint or in acts, practices,

transactions, and courses of business of similar type and object.

                NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

       14.     The Commission brings this action pursuant to the authority conferred upon it by

Securities Act Sections 20(b) and 20(d) [15 U.S.C. §§ 77t(b) and 77t(d)] and Exchange Act

Section 21(d) [15 U.S.C. § 78u(d)], Exchange Act Section 21A(a) [15 U.S.C. § 78u-1(a)].

       15.     The Commission seeks a final judgment: (a) permanently enjoining the

Defendants from violating the federal securities laws and rules this Complaint alleges they have

violated; (b) ordering the Defendants to disgorge all ill-gotten gains they received as a result of

the violations alleged here and to pay prejudgment interest thereon pursuant to 15 U.S.C.

§ 78u(d)(5) and Sections 6501(a)(1) and (a)(3) of the National Defense Authorization Act for

Fiscal Year 2021, Pub. L. No. 116-283, to be codified at 15 U.S.C. §§ 78u(d)(3) and 78u(d)(7);;

(c) ordering the Defendants to pay civil money penalties pursuant to Securities Act Section 20(d)

[15 U.S.C. § 77t(d)] and Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)]; (d)

permanently prohibiting the Defendants from participating in any offering of a penny stock,

pursuant to Securities Act Section 20(g) [15 U.S.C. § 77t(g)] and Exchange Act Section 21(d)(6)

[15 U.S.C. § 78u(d)(6)]; and (e) ordering any other and further relief the Court may deem just

and proper.

                                  JURISDICTION AND VENUE

       16.     This Court has jurisdiction over this action pursuant to Securities Act Section




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22(a) [15 U.S.C. § 77v(a)] and Exchange Act Section 27 [15 U.S.C. § 78aa].

       17.       The Defendants, directly and indirectly, have made use of the means or

instrumentalities of interstate commerce or of the mails in connection with the transactions, acts,

practices, and courses of business alleged herein.

       18.       Venue lies in this District under Securities Act Section 22(a) [15 U.S.C. § 77v(a)]

and Exchange Act Section 27 [15 U.S.C. § 78aa]. Certain of the acts, practices, transactions, and

courses of business alleged in this Complaint occurred within this District. For example,

investors residing in the Southern District of New York purchased the stocks discussed in this

Complaint while the Defendants were pumping and dumping them.

                                          DEFENDANTS

       19.       Calabrigo, age 29, is a Canadian citizen and permanent resident of Nassau,

Bahamas.

       20.       Lehner, age 53, is a Canadian citizen who resides in British Columbia.

       21.       Sario, age 48, resides in Turkey, and also has an address in Magliaso,

Switzerland.

       22.       Vasseur, age 41, is a Canadian citizen who resides in British Columbia.

                                 THE MANIPULATED STOCKS

       23.       The pump-and-dump frauds perpetrated by the Defendants involved the stock of

microcap issuers, i.e., companies with relatively few assets and low stock prices, and sold on the

over-the-counter market rather than being listed on an exchange. Often these issuers are shell

companies, i.e., a company with no or nominal operations or assets. Specifically, the indicated

Defendants manipulated the stocks of the following issuers (the “Relevant Issuers”):

             •   Blake Therapeutics Inc. (ticker: BKIT) was a Nevada corporation with its




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                 principal place of business in New York, New York. When the four Defendants

                 were manipulating BKIT, BKIT purported to be in the business of providing

                 insomnia remedies. BKIT had a class of common stock registered under Section

                 12(g) of the Securities Exchange Act of 1934. In its Form 10-K for the year

                 ended August 31, 2016 BKIT reported assets of $4,783, and liabilities of $85,924.

             •   Bingo Nation, Inc. (ticker: BLTO) was a Nevada corporation with its principal

                 place of business in Las Vegas, Nevada. When Defendants Lehner, Vasseur, and

                 Sario were manipulating BLTO, BLTO purported to offer televised bingo games

                 and related kiosks at which customers could buy bingo cards for the weekly game

                 broadcasts. BLTO had a class of common stock registered under Section 12(g) of

                 the Exchange Act. In its Form 10-Q for the quarter ended September 30, 2016,

                 BLTO reported $1,732 of current assets (and $275,363 of non-current assets), and

                 liabilities of $689,470. The Commission suspended trading in BLTO on April 13,

                 2017 for ten business days “because of concerns regarding the accuracy and

                 adequacy of publicly available information in the marketplace and potentially

                 manipulative transactions in Bingo Nation’s common stock.” 1

             •   Drone Guarder, Inc. (ticker: DRNG) was a Nevada corporation with its

                 principal place of business in San Francisco, California and later London, United

                 Kingdom. When the four Defendants were manipulating DRNG, DRNG

                 purported to be an early stage security and surveillance company focusing on

                 commercializing a drone enhanced home security system. During the relevant

                 period, DRNG had a class of common stock registered under Section 12(g) of the


1
         In the Matter of Bingo Nation Inc. Order of Suspension of Trading, dated April 12, 2017
https://www.sec.gov/litigation/suspensions/2017/34-80445-o.pdf


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    Exchange Act. In its Form 10-K for the year ended January 31, 2017, DRNG

    reported assets of $2,944, and liabilities of $105,763.

•   Horizon Minerals Corp. (ticker: HZNM) was a Delaware corporation with its

    principal place of business of Las Vegas, Nevada. When Defendants Lehner,

    Vasseur, and Sario were manipulating HZNM, HZNM purported to be in the

    business of acquiring and developing mineral properties. In its Form 10-Q for the

    quarter ended September 30, 2016, HZNM reported $181 of current assets, and

    liabilities of $150,138.

•   I-Wellness Marketing Group Inc., (ticker: IWMG) formerly known as

    Monarchy Ventures Inc. (ticker: MONK) was a Nevada corporation with its

    principal place of business in Las Vegas, Nevada. When Defendants Lehner and

    Sario were manipulating IWMG, IWMG purported to be in the business of

    developing a health and fitness phone application. IWMG had a class of common

    stock registered under Section 12(g) of the Securities Exchange Act of 1934. In

    its Form 10-Q for the quarter ended September 30, 2015, IWMG reported

    $23,353 of current assets and $180,344 of total assets, and liabilities of

    $1,033,595.

•   Oroplata Resources Inc. (ticker: ORRP) was a Nevada corporation with its

    principal place of business in the Dominican Republic and later, Henderson,

    Nevada. When Defendants Lehner, Vasseur, and Sario were manipulating ORRP,

    ORRP purported to be a mineral exploration company. During the relevant

    period, ORRP had a class of common stock registered under Section 12(g) of the

    Exchange Act. In its Form 10-K for the year ended September 30, 2015, ORRP



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                 reported assets of $10,946 and liabilities of $101,666.

             •   Preston Corp. (ticker: PSNP) was a Nevada corporation with its principal place

                 of business in Austin, Texas. When Defendants Lehner, Vasseur, and Sario were

                 manipulating PSNP, PSNP purported to be in the business of royalty financing for

                 mining operations. During the relevant period, PSNP had a class of common

                 stock registered under Section 12(g) of the Exchange Act. In its Form 10-K for

                 the year ended September 30, 2015, PSNP reported assets of $73,431, and

                 liabilities of $124,900. The Commission suspended trading in PSNP stock on

                 September 3, 2016 for ten business days “because of questions regarding the

                 adequacy and accuracy of available information about Preston Corp. in light of a

                 false statement about the permitting status of a mine in the company’s August 10,

                 2016 press release and questions regarding the adequacy and accuracy of

                 clarifications Preston Corp. provided in a September 1, 2016 press release about

                 the mining project.” 2

             •   Vilacto Bio, Inc. (ticker: VIBI) was a Nevada corporation with its principal

                 place of business in Naestved, Denmark. When Defendants Lehner, Vasseur, and

                 Calabrigo were manipulating VIBI, VIBI purported to be in the business of

                 marketing skin care products. During the relevant period, VIBI had a class of

                 common stock registered under Section 12(g) of the Exchange Act. In its Form

                 10-Q for the quarter ended December 31, 2016, VIBI reported assets of $540, and

                 liabilities of $35,808.

             •   Zenosense, Inc. (ticker: ZENO) was a Nevada corporation with its principal


2
         In the Matter of Preston Royalty Corp. aka Preston Corp., Order of Suspension of Trading (Sept. 2, 2016).
https://www.sec.gov/litigation/suspensions/2016/34-78757-o.pdf


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              place of business in Valencia, Spain. When Defendants Lehner, Vasseur, and

              Calabrigo were manipulating ZENO, ZENO purported to be a healthcare

              technology company. During the relevant period, ZENO had a class of common

              stock registered under Section 12(g) of the Exchange Act. In its Form 10-Q for

              the quarter ended September 30, 2016, ZENO reported assets of $182,165 and

              liabilities of $423,845.

                       RELEVANT ENTITIES AND INDIVIDUALS

       24.    The Offshore Trading Platforms are three networks that provided the

Defendants with the means of obscuring their identities and stock ownership, through foreign

nominee entities and offshore bank and brokerage accounts:

              •       Bajic-Taneja Platform was a network of entities and brokerage accounts

                      located in Asia, operated by Steven Bajic and Rajesh Taneja. In January

                      2020, the Commission charged Bajic and Taneja with securities fraud in

                      connection with their operation of this platform. See SEC v. Bajic et al.,

                      20-cv-00007 (S.D.N.Y.).

              •       Blacklight S.A. (“Blacklight”) was a purported asset management firm

                      based in Switzerland. In January 2020, the Commission charged

                      Blacklight and its control persons with securities fraud. See SEC v.

                      Ciapala et al., 20-cv-00008 (S.D.N.Y.) and SEC v. Bajic et al., 20-cv-

                      00007 (S.D.N.Y.).

              •       Wintercap SA, formerly known as Silverton SA (“Wintercap”) is a

                      purported asset management firm based in Switzerland. In October 2018,

                      the Commission charged Wintercap and its principal with securities fraud.



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                         See SEC v. Knox, et al., 18-cv-12058 (D. Mass.).

         25.      Antevorta Capital Partners, Ltd. (“Antevorta”) is an entity that is incorporated

in both Canada and the British Virgin Islands.

         26.      Aaron Dale Wise (“Wise”) is a Florida resident. Wise promoted microcap

stocks. The Commission charged Wise with securities fraud in January 2020. See SEC v. Bajic et

al. 20-cv-00007 (S.D.N.Y.).

         27.      Frederick L. Sharp (“Sharp”) is a Canadian resident who operated a network of

offshore shell companies and encrypted accounting and communications systems for use by

microcap fraudsters. In August 2021, the Commission charged Sharp with securities fraud. See

SEC. v. Sharp et al., 1:21-cv-11276 (D. Mass).

         28.      Christopher McKnight (“McKnight”) is a Canadian citizen who resides in

Vancouver, British Columbia. McKnight promoted microcap stocks. The Commission charged

McKnight with securities fraud in January 2020. See SEC v. Bajic et al., 20-cv-00007

(S.D.N.Y.).

                                              FACTS

    I.         Overview of the Defendants’ Scheme

         29.      The Defendants, together and individually, have been associated with microcap

issuers for years. They have frequently worked together on microcap deals, as a team, as well as

with many other individuals and entities, several of which have since been charged by the

Commission in connection with fraudulent microcap-related schemes. The Defendants

frequently used encrypted messaging and email applications with code names to communicate




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with each other, associates, and the Offshore Trading Platforms concerning the schemes.

        30.      The Defendants’ schemes followed a similar pattern. First, the Defendants gained

control of the targeted microcap company’s public float, i.e., the purportedly unrestricted stock

that was available for trading. Working with other individuals and entities such as Sharp and

Antevorta, the Defendants obtained at least the majority of the shares in the issuer’s public float,

often more than 90 percent.

        31.      By virtue of their control of the float of the issuers, as well as, in some cases, their

relationships with management of the issuers, Defendants and their associates were affiliates of

the issuers, as that term is defined in Commission Rule 144(a)(1) [17 C.F.R. §144(a)(1)]. 3

        32.      The control of these issuers by Defendants and their associates was often

accomplished through private stock purchases from nominee shareholders associated with Sharp,

or by conversion of purported debt to shares. The shares controlled by the Defendants and their

associates were ultimately held in the names of entities which, by design, were virtually

untraceable to the Defendants. In some instances, the Defendants and their associates had

relationships with the individuals managing the issuers, including direct lines of

communications, and they sometimes made payments to these individuals through offshore bank

accounts.

        33.      For example, on November 14, 2016, HZNM received a wire for “reimbursement

of corporate expenses” from an account of an entity associated with Vasseur and Lehner. That

same account also paid HZNM for expenses associated with OTC Markets.




3
         An “affiliate” of an issuer is a person or entity that, directly or indirectly through one or more
intermediaries, controls, is controlled by, or is under common control with, such issuer (i.e., a control person).
“Control” means the power to direct management and policies of the company in question. Typically, affiliates
include officers, directors and controlling shareholders but any person who is under “common control” with or has
common control of an issuer is also an affiliate.


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        34.        In addition, Lehner was sent a draft of IWMG’s quarterly financial report on

Form 10-Q on May 15, 2015, three days before the document was filed publicly with the

Commission on May 18, 2015. Furthermore, Vasseur created three email accounts for use by

PSNP personnel and sent the email addresses and password to the PSNP CEO.

        35.      Next, the Defendants worked with the Offshore Trading Platforms to deposit their

shares at various broker-dealers, typically offshore, in accounts intended to conceal the true

beneficial ownerships. These accounts were often in the name of one of the Offshore Trading

Platforms, or in the name of one of many nominee entities managed by the Offshore Trading

Platforms. By Defendants’ design, for the majority of these issuers, none of these entities held

more than 5 percent of the issuer’s publicly trading stock.

        36.      By hiding their control of the majority of these issuers through the use of nominee

entities such that none of which held more than 5 percent of the issuer’s outstanding float, the

Defendants deceived the public, brokers, and regulators by knowingly avoiding the disclosure

obligations of Section 13(d) of Exchange Act, which would have informed investors of their

control of the issuers. 4

        37.      Once the Defendants had obtained and deposited the shares of an issuer, they

clandestinely funded promotional campaigns – often emails sent to potential investors that

promoted the stock as a good investment, online banner ads, or websites for the issuer created or

designed by the Defendants. The purpose of these activities was to increase investor interest and

encourage investors to buy the stock.

        38.      For example, Lehner, Sario and Vasseur funneled funds to stock promoters



4
         Section 13(d) of the Exchange Act requires a person or a group of person who acquire beneficial ownership
of more than 5 percent of a voting class of a company’s equity securities registered under Section 12 of the
Exchange Act to file a Schedule 13D with the Commission, which is publicly available via EDGAR.


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McKnight and Wise who then funneled payments from an offshore bank account in the name of

an offshore entity controlled by Sario, to pay for promotions of at least six of the Relevant

Issuers (BKIT, BLTO, DRNG, HZNM, ORRP, and PSNP). Adding an additional level of

obfuscation, in the promotions themselves and in communications with the promoter, McKnight

used fabricated names as the paying entities for these promotions. For other issuers, the

promotions were funded in a similarly circuitous manner.

       39.     Calabrigo, working with the Antevorta group, funded promotions of DRNG,

VIBI, ZENO and BKIT.

       40.     In addition to the promotions, the Defendants also used several other methods to

fraudulently increase investor interest and demand for the Relevant Issuers’ securities. In

connection with IWMG, PSNP, and ORRP, for example, Lehner, Sario and Vasseur engaged

“boiler rooms” to hype the stock they planned to sell.

       41.     For all of the issuers except IWMG, certain Defendants and associates also

engaged in manipulative trading, sometimes described as “building a chart,” in order to create

the appearance of greater market interest in the stock before and during their stock promotions,

and thereby induce members of the public to purchase the stocks. Specifically, on behalf of the

Defendants, the Offshore Trading Platforms often traded stock in the Relevant Issuers amongst

each other, entering orders to buy and sell at the same time, at the same or similar price and

quantity. This manipulative trading often constituted the majority of the trading volume for the

day. On other occasions, third parties paid by the Defendants engaged in the manipulative

trading.




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       42.     After creating public interest in the Relevant Issuers, creating liquidity and

causing the stock price to rise, the Defendants and associates liquidated (or “dumped”) their

holdings of the issuers’ stock via the Offshore Trading Platforms.

       43.     These stock sales were not registered with the Commission, and no exemption to

the Securities Act’s registration requirements was applicable to the sales. Before selling stock,

control persons are required to: (a) register the stock with the Commission pursuant to Section 5

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77e]; (b) sell the stock pursuant

to an applicable exemption from registration; or (c) sell the stock pursuant to conditions set forth

in SEC Rule 144 [17 C.F.R. § 240.144], which include limitations on the amount of stock a

control person can legally sell. Such registration requirements and resale restrictions are critical

safeguards designed to inform investors about the nature of the stock they are holding or

considering buying, and from whom they would be buying that stock.

       44.     The Defendants used a network of conduit entities and bank accounts, mostly

offshore, to distribute the proceeds of these sales. Sometimes, they funneled sale proceeds

directly to a promoter in furtherance of another pump and dump. Sario and Calabrigo often used

fake invoices and consulting agreements to obfuscate the reason for payments to them of their

trading proceeds, and then distributed funds to the other Defendants from offshore bank accounts

that they controlled.

       45.     The involvement of each Defendant varied by issuer, as reflected in Chart A

below, but their roles were generally as follows:

              •   Lehner and Vasseur were particularly instrumental in setting up the schemes,

                  i.e., gaining control of the issuers and coordinating the promotions. Vasseur

                  also played a role in designing or reviewing promotional materials and




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                    websites, and coordinated with McKnight concerning some promotions.

                •   Sario had a significant role in directing the Defendants’ trading in the stock of

                    the Relevant Issuers. In addition, his offshore bank accounts were used to fund

                    promotions and to funnel money to the Defendants and others who aided them.

                •   Calabrigo’s participation generally related to promotions, specifically for

                    BKIT, DRNG, VIBI and ZENO. Calabrigo was also associated with

                    Antevorta, a group working through a British Virgins Island entity that also

                    engaged in the manipulation of microcap stocks, often in concert with the

                    Defendants.

        46.      The following chart identifies the Defendants involvement in each of the nine

pump-and-dump schemes, and the approximate net proceeds that these Defendants realized from

that scheme:

                                              CHART A

 Ticker       Time Frame of Sales by     Defendants Involved       Approximate     Approximate
              Defendant(s)                                         Net Shares      Net Proceeds
                                                                   Sold
 IWMG         January-March 2016         Lehner, Sario             1.12 million    $730,000
                                                                   shares
 PSNP         February-August 2016       Lehner, Vasseur, Sario    4.05 million    $1.64 million
                                                                   shares
 ORRP         Late February-Late         Lehner, Vasseur, Sario    11.9 million    $12.4 million
              September 2016                                       shares
 BKIT         November 2016-July         Lehner, Vasseur,          5.57 million    $5.1 million
              2017                       Sario, Calabrigo          shares
 HZNM         December 2016-             Lehner, Vasseur, Sario    1.05 million    $1.3 million
              February 2017                                        shares
 BLTO         January-June 2017          Lehner, Vasseur, Sario    1.35 million    $2,.4 million
                                                                   shares
 DRNG         Late March 2017-April      Lehner, Vasseur,          22.6 million    $4.2 million
              2018                       Sario, Calabrigo          shares
 ZENO         Mid-February -Mid-         Lehner, Vasseur,          6.32 million    $7.8 million
              April 2017                 Calabrigo                 shares
 VIBI         Late May 2017-             Lehner, Vasseur,          8.44 million    $4.04 million


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 Ticker      Time Frame of Sales by    Defendants Involved       Approximate Approximate
             Defendant(s)                                        Net Shares  Net Proceeds
                                                                 Sold
             December 2018             Sario, Calabrigo          shares
 TOTAL                                                                       $39.6 million


       47.      Three examples of the Defendants’ pump-and-dump schemes are discussed in

more detail below. These three examples are representative of the nine schemes.

The BKIT Pump and Dump

       48.      From November 2016 through mid-2017, all four Defendants and an associate

(“Associate A”, who, together with the Defendants and others, was part of an undisclosed control

group), engaged in a pump-and-dump scheme involving the stock of BKIT, a shell company

whose stock had been acquired by Lehner and Associate A in late 2013-early 2014.

       49.      Through a series of transfers from February 2014 through early 2017, Defendants

and their associates gained control of BKIT’s float, so that by 2017, this undisclosed control

group had deposited 99.99% of BKIT’s unrestricted stock – approximately 10.6 million shares -

with offshore brokers. All the shares were ultimately transferred to entities on the Blacklight and

Bajic-Taneja platforms that were controlled by this undisclosed control group. No single entity

held more than 5 percent of BKIT’s outstanding shares. By virtue of their control of BKIT,

Defendants were affiliates of BKIT, as that term is defined in Commission Rule 144(a)(1) [17

C.F.R. §144(a)(1)].

       50.      Beginning in November 2016 and continuing through January 2017, the

Defendants began to direct trading activity between the Offshore Trading Platforms, to create the

appearance of liquidity in advance of a paid promotional campaign, i.e., “building the chart.”

       51.      Specifically, on at least 18 trading days between November 14, 2016 and January

26, 2017, brokerage accounts associated with the Offshore Trading Platforms were buying and


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selling BKIT stock on the same day. For example, on November 14, 2016, a Blacklight account

purchased 50,700 shares of BKIT while a Bajic-Taneja account sold 56,900 shares of BKIT.

The reported total market volume for BKIT was only 59,800 shares that day. The Defendant’s

manipulative trading activity in BKIT is set forth in detail in pages 1-2 of Exhibit A.

        52.      Another associate of the Defendants, Associate B, also traded in BKIT in advance

of the promotion. 5

        53.      From January 2017 through March 2017, the Defendants promoted BKIT to

investors through an email promotional campaign. In anticipation of, and during, the

promotional campaign, the Defendants wired at least $25,000 to BKIT’s CEO.

        54.      Vasseur helped write the text of the promotional materials for the BKIT

campaign. In addition, Lehner and Vasseur provided McKnight with fictitious names to send to

the stock promoter to be used on the stock promotions. Promotional emails touting BKIT

promised exceptional returns, suggesting that early investors could earn over 15,000% on their

investment in BKIT. These emails did not disclose that a coordinated group of individuals,

including the Defendants controlled BKIT, were responsible for the promotional campaign, and

were selling their shares during the promotion. The promotional campaign was paid for via

Sario’s offshore entity.

        55.      The Defendants also directed BKIT to issue press releases to coincide with this

promotional campaign, including a January 17, 2017 press release stating that BKIT was seeking

financing for clinical trials, and press releases on February 8 and 24, 2017 concerning a

purported joint venture with a consulting firm. The company also filed a Form 8-K on January


5
         In October 2016, Associate B received a payment, routed through an intermediary, funded by a company
controlled by Vasseur and Lehner. Shortly after the funds were deposited in his brokerage account, Associate B
purchased shares of ORRP, BKIT, and HZNM. Associate B also traded in ZENO in advance of its promotional
campaign, as well as in VIBI, as described in paragraph 79 below.


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26, 2017 acknowledging promotional activity in the stock but falsely disclaiming involvement in

it.

       56.     In late April through early May 2017, the Defendants again directed manipulative

trades in BKIT to create trading activity in the stock. This trading activity is set forth in detail in

page 2 of Exhibit A.

       57.     In May 2017, Calabrigo, through an associate, paid for a different stock promoter

to promote BKIT through Facebook and Google ads.

       58.     The effect of the promotional activity and manipulative trading is evident in the

chart below, which sets forth BKIT’s price and trading volume from October 3, 2016 through

August 31, 2017:




       59.     From January 9 through July 10, 2017, the Offshore Trading Platforms, including


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Blacklight accounts associated with the Defendants, sold a net total of over 5.5 million shares of

BKIT for proceeds of over $5 million.

       60.     No registration statement existed for the Defendants’ sales of these shares of

BKIT and no exemption to the Securities Act’s registration requirements applied to the sales.

The Defendants’ sales also did not satisfy the conditions of the safe harbor from registration

provided by Commission Rule 144.

The BLTO Pump and Dump

       61.     In early 2017, Defendants Lehner, Vasseur, Sario and Associate A engaged in a

pump and dump of the securities of BLTO.

       62.     Defendants Lehner, Vasseur and Sario were part of an undisclosed control group

that gained control of BLTO’s public float in or around February 2017, through a series of

purported convertible debt agreements and nominee sales involving, among other entities,

corporations controlled by Lehner and Sharp.

       63.     By the time the undisclosed control group began to manipulate BLTO, this

control group owned approximately 96% of BLTO’s public float. All the shares were ultimately

transferred to entities on the Blacklight and Bajic-Taneja platforms that were controlled by this

undisclosed control group.

       64.     Defendants’ control of BLTO is further evidenced by Lehner’s prior relationship

to the company. Specifically, on March 31, 2016, a company controlled by Lehner and an

associate had transferred at least $14,000 to BLTO (f/k/a Indie Growers Association).

       65.     By virtue of their control of BLTO, Defendants and their associates were

affiliates of BLTO, as that term is defined in Commission Rule 144(a)(1) [17 C.F.R. §144(a)(1)].

       66.     Prior to promoting BLTO, and during the early stages of their promotion of




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BLTO, Defendants Lehner, Vasseur and Sario and Associate B engaged in a series of

manipulative trades of BLTO shares. These trades were effected to build BLTO’s chart, and to

create trading volume and interest in the stock.

       67.     For example, trading associated with Blacklight, Bajic-Taneja and Associate B

accounts occurred on both the buy-side and sell-side on at least four different dates leading up to

and during the BLTO promotion. On one of those dates, January 23, 2017, the total reported

market volume in BLTO stock was 31,463. Blacklight buying accounted for 30,276 shares (96%)

and Blacklight and Associate B selling accounted for 30,463 shares (97%). A chart of the

Defendants’ manipulative trading in BLTO is set forth in pages 2-3 of Exhibit A.

       68.     In advance of a promotional campaign, in January and early March, 2017, BLTO

issued press releases promoting the company. On January 18, 2017, BLTO issued press releases

claiming that its technology had received a certification from the “Gaming Laboratories

International LLC” and on March 9, 2017, the company announced that it “was accelerat[ing]

rollout of its technology by awarding distribution rights to strategic partners in up to 29 states

where Indian gaming is conducted.” These press releases were prepared by a public relations

firm that was compensated by a wire sent from an offshore account in the name of an entity

associated with Lehner and Vasseur.

       69.     In mid-March 2017, Defendants Lehner, Vasseur and Sario ran a promotional

campaign of BLTO, funded by a wire from the Bajic-Taneja Platform to Sario’s offshore entity,

which then wired these funds, through conduits, to the promoters.

       70.     The promotions touted BLTO’s attractiveness as an investment, claiming, among

other things, that it could be on the “start of an insane bull run,” that BLTO’s gaming kiosks

could generate “$30 million per week” in revenue and an investment of $2,000 could turn into




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“$26,880.” These promotions did not disclose that the Defendants were paying for the

promotions, or that the parties paying for the promotions were part of an undisclosed control

group that owned the vast majority of the public float of the company and were selling the stock

while encouraging potential investors to buy it.

       71.      The effect of the manipulative trading and the promotional activity is evident in

the chart below, which shows BLTO’s volume (bar) and price (line) from January 18 through

May 31, 2017:




       72.      From January 19 through April 11, 2017, BLTO’s undisclosed control group,

including Lehner, Sario, and Vasseur, sold net 1,189,705 shares of BLTO on the Bajic-Taneja

and Blacklight Platforms for proceeds of $2,362,795.


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       73.     No registration statement existed for the Defendants’ sales of these shares of

BLTO, and no exemption to the Securities Act’s registration requirements applied to the sales.

The Defendants’ sales also did not satisfy the conditions of the safe harbor from registration

provided by Commission Rule 144.

       74.     The Defendants’ pump and dump was interrupted when the Commission

suspended trading in BLTO on April 13, 2017. The Commission’s suspension order cited

“concerns regarding the accuracy and adequacy of publicly available information in the

marketplace and potentially manipulative transactions in Bingo Nation’s common stock.” 6

The VIBI Pump and Dump

       75.     Beginning in late 2017 and throughout 2018, Defendants Calabrigo, Lehner, Sario

and Vasseur, along with Associate A and other associates engaged in a pump and dump of the

securities of VIBI, a purported skin care company.

       76.     The Defendants and their associates began acquiring ownership of VIBI’s float

beginning in September 2016 by transferring shares from the nominee shareholders identified on

a Form S-1 filed by VIBI’s predecessor entity to entities controlled by the Defendants and their

associates. By January 2017, this control group controlled 57% of VIBI’s public float, and by

March 2017, the group controlled 69% of the public float. By September 2017, this control

group controlled 82% of VIBI’s public float. All the shares were ultimately transferred to

entities on the Blacklight and Bajic-Taneja platforms that were controlled by this undisclosed

control group. No single entity held more than 5 percent of VIBI’s outstanding shares.

       77.     In addition to controlling the float, Vasseur provided feedback regarding content

to add to VIBI’s corporate website, which was relayed to and accepted by VIBI’s CEO.



6
       https://www.sec.gov/litigation/suspensions/2017/34-80445-o.pdf


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        78.     By virtue of their control of VIBI, Defendants and their associates were affiliates

of VIBI, as that term is defined in Commission Rule 144(a)(1) [17 C.F.R. §144(a)(1)].

        79.     As they did in the BKIT and BLTO, in anticipation of a promotional campaign,

from June through mid-September 2017, the Defendants directed manipulative trading in VIBI to

build a chart and to create trading volume and interest in the stock. The trading involved the

Offshore Trading Platforms, as well as other associates of the Defendants, including Associate

B; an associate who had received several payments from Sario totaling $235,000 to trade in

stocks (Associate C) 7; and an associate of Lehner (Associate D) 8.

        80.     For example, on at least 40 trading days between June 1, 2017 and September 12,

2017, brokerage accounts associated with the Offshore Trading Platforms controlled by the

Defendants and the Defendants’ Associates executed trades on both the buy side and sell side for

VIBI stock. Overall trading volume during this period of time was very light, so the group

accounted for a substantial portion of the overall trading volume. In fact, on 12 of the trading

days during this period of time, the Defendants and Associates accounted for the entire market

volume of trading in VIBI. A chart of the Defendants’ manipulative trading in VIBI is set forth

in pages 3-6 of Exhibit A.From October 2017 and through 2018, the Defendants and associates

of Calabrigo promoted VIBI through a landing page websites, promotional emails, and other

internet advertising campaigns. Calabrigo’s associates paid over $1 million to a stock promoter

to promote VIBI.

        81.     Promotional materials for VIBI encouraged investors to purchase VIBI, claiming:

        •       “I’ve Never Seen a Better Opportunity than Vilacto Bio (OTC:VIBI)!”;

        •       “YOUR $5,000 INVESTMENT IN VILACTO BIO [STOCK SYMBOL ‘VIBI’]

7
          Associate C also traded in HZNM, BLTO, and DRNG in advance of the promotional campaigns.
8
          Associate D also traded in HZNM, BKIT, and DRNG in the months preceding the promotional campaigns
of these stocks.


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COULD TURN INTO $35,000 WITHIN 10 MONTHS!”; and

       •      “Hot Stock Alert – VIBI – Read the Full Story on 2017’s ‘Under the Radar’ Stock
About to Explode.”

        The promotions, like the BKIT and BLTO promotions, did not disclose that the parties

paying for the promotions owned the majority of the stock and were selling the stock while

encouraging potential investors to buy it.

        82.    The effect of the chart building and promotional activity is evident in the

following chart, which show’s VIBI’s price and volume from May 25, 2017 through January 25,

2019:




        83.    From late May 2017 through September 2018, the Defendants, along with



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Calabrigo’s associates, sold net 8,456,665 shares of VIBI for proceeds of $4,048,083.

       84.     No registration statement existed for the Defendants’ sales of these shares of VIBI

and no exemption to the Securities Act’s registration requirements applied to the sales. The

Defendants’ sales also did not satisfy the conditions of the safe harbor from registration provided

by Commission Rule 144.

                                FIRST CLAIM FOR RELIEF
                  Violations of Securities Act Sections 17(a)(1) and 17(a)(3)
                                       (All Defendants)

       85.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.

       86.     Defendants, directly or indirectly, singly or in concert, in the offer or sale of

securities and by the use of the means or instruments of transportation or communication in

interstate commerce or the mails, knowingly or recklessly have employed one or more devices,

schemes or artifices to defraud, and/or knowingly, recklessly, or negligently have engaged in one

or more transactions, practices, or courses of business which operated or would operate as a

fraud or deceit upon the purchaser.

       87.     By reason of the foregoing, Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Securities Act Section 17(a)(1) and (3) [15

U.S.C. § 77q(a)(1) and (3)].

                            SECOND CLAIM FOR RELIEF
      Violations of Exchange Act Section 10(b) and Rule 10b-5(a) and (c) Thereunder
                                     (All Defendants)

       88.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.

       89.     Defendants, directly or indirectly, singly or in concert, in connection with the




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purchase or sale of securities and by the use of means or instrumentalities of interstate

commerce, or the mails, or the facilities of a national securities exchange, knowingly or

recklessly have employed one or more devices, schemes, or artifices to defraud, and engaged in

one or more acts, practices, or courses of business which operated or would operate as a fraud or

deceit upon other persons.

       90.     By reason of the foregoing, Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Exchange Act Section 10(b) [15 U.S.C.

§ 78j(b)] and Rule 10b-5(a) and (c) thereunder [17 C.F.R. § 240.10b-5(a) and (c)].

                                THIRD CLAIM FOR RELIEF
                           Violations of Exchange Act Section 9(a)(2)
                                        (All Defendants)

       91.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.

       92.     Defendants, directly or indirectly, by the use of the mails or any means or

instrumentality of interstate commerce, or of any facility of any national securities exchange,

effected, alone or with one or more other persons, a series of transactions in a security creating

actual or apparent active trading in such security, or raising or depressing the price of such

security, for the purpose of inducing the purchase or sale of such security by others.

       93.     By reason of the foregoing, Defendants directly or indirectly, singly or in concert,

has violated and, unless enjoined, will again violate Exchange Act Section 9(a)(2) [15 U.S.C. §

78i(a)(2)].

                               FOURTH CLAIM FOR RELIEF
                        Violations of Securities Act Sections 5(a) and (c)
                                        (All Defendants)

       94.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.


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       95.     Defendants, directly or indirectly, singly or in concert, (i) made use of means or

instruments of transportation or communication in interstate commerce or of the mails to sell,

through the use or medium of a prospectus or otherwise, securities as to which no registration

statement was in effect; (ii) for the purpose of sale or for delivery after sale, carried or caused to

be carried through the mails or in interstate commerce, by any means or instruments of

transportation, securities as to which no registration statement was in effect; or (iii) made use of

means or instruments of transportation or communication in interstate commerce or of the mails

to offer to sell or offer to buy, through the use or medium of a prospectus or otherwise, securities

as to which no registration statement had been filed.

       96.     By reason of the foregoing, Defendants violated and, unless enjoined, will again

violate, Securities Act Sections 5(a) and 5(c) [15 U.S.C. §§ 77e(a) and 77e(c)].

                              FIFTH CLAIM FOR RELIEF
                      In the Alternative to the First Claim of Relief,
        Aiding and Abetting Violations of Securities Act Section 17(a)(1) and 17(a)(3)
                                     (All Defendants)

       97.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.

       98.     Calabrigo, Lehner, Sario and Vasseur and certain of their associates directly or

indirectly, singly or in concert, by use of the means or instruments of transportation or

communication in interstate commerce, or of the mails, in the offer or sale of securities: with

scienter, employed devices, schemes, or artifices to defraud; or engaged in transactions,

practices, or courses of business which operated or would operate as a fraud or deceit upon the

purchasers.

       99.     Calabrigo, Lehner, Sario and Vasseur knowingly or recklessly provided

substantial assistance to each other and their associates with respect to their violations of



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Securities Act Sections 17(a)(1) and 17(a)(3) [15 U.S.C. § 77q(a)(1) and (3)].

       100.    By reason of the foregoing, Defendants are liable pursuant to Securities Act

Section 15(b) [15 U.S.C. § 77o(b)] for aiding and abetting each other’s violations of Securities

Act Section 17(a)(1) and (3) [15 U.S.C. § 77q(a)(1) and (3)] and, unless enjoined, Defendants

will again aid and abet these violations.

                             SIXTH CLAIM FOR RELIEF
                    In the Alternative to the Second Claim of Relief,
 Aiding and Abetting Violations of Exchange Act Section 10(b) and Rule 10b-5(a) and (c))
                                    (All Defendants)

       101.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.

       102.    Calabrigo, Lehner, Sario and Vasseur, and their associates, directly or indirectly,

singly or in concert, knowingly or recklessly, by the use of the means or instrumentalities of

interstate commerce or of the mails, or of the facilities of a national securities exchange, in

connection with the purchase or sale of securities, employed devices, schemes and artifices to

defraud, or engaged in acts, practices and courses of business which operated or would have

operated as a fraud or deceit upon investors.

       103.    Calabrigo, Lehner, Sario and Vasseur knowingly or recklessly provided

substantial assistance to each other and their associates with respect to its violations of Exchange

Act Section 10(b) [15 U.S.C. § 78j(b)] and Rule 10b-5(b) [17 C.F.R. § 240.10b-5b] thereunder.

       104.    By reason of the foregoing, Defendants are liable pursuant to Exchange Act

Section 20(e) [15 U.S.C. § 78t(e)] for aiding and abetting each other’s violations of Exchange

Act Section 10(b) [15 U.S.C. § 78j(b)] and Rule 10b-5(a) and (c) [17 C.F.R. § 240.10b-5(a) and

(c)] thereunder and, unless enjoined, Defendants will again aid and abet these violations.




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                             SEVENTH CLAIM FOR RELIEF
                       In the Alternative to the Third Claim of Relief,
               Aiding and Abetting Violations of Exchange Act Section 9(a)(2)
                                      (All Defendants)

       105.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 84.

       106.    Calabrigo, Lehner, Sario, and Vasseur, and their associates, directly or indirectly,

by the use of the mails or any means or instrumentality of interstate commerce, or of any facility

of any national securities exchange, effected, alone or with one or more other persons, a series of

transactions in a security creating actual or apparent active trading in such security, or raising or

depressing the price of such security, for the purpose of inducing the purchase or sale of such

security by others.

       107.    Calabrigo, Lehner, Sario and Vasseur knowingly or recklessly provided

substantial assistance to each other and their associates with respect to its violations of Exchange

Act Section 9(a)(2) [15 U.S.C. § 78i(a)(2)] thereunder.

       108.    By reason of the foregoing, Defendants are liable pursuant to Exchange Act

Section 20(e) [15 U.S.C. § 78t(e)] for aiding and abetting each other’s violations of Exchange

Act Section 9(a)(2) [15 U.S.C. § 78i(a)(2)] and, unless enjoined, Defendants will again aid and

abet these violations.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:

                                                  I.

       Permanently enjoining Defendants and their agents, servants, employees and attorneys

and all persons in active concert or participation with any of them from violating, directly or



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indirectly, Securities Act Sections 5(a) and (c), and 17(a)(1) and 17(a)(3) [15 U.S.C. §§ 77e(a),

77e(c), and 77q(a)(1) 77q(a)(3)], Exchange Act Sections 9(a)(2) and 10(b) [15 U.S.C.

§§ 78i(a)(2) and 78j(b)], and Rule 10b-5(a) and (c)) thereunder [17 C.F.R. §§ 240.10b-5(a) and

(c)].

                                                    II.

         An Order directing the Defendants, and each of their financial and brokerage institutions,

agents, servants, employees attorneys-in-fact, and those persons in active concert or participation

with them, who receive actual notice of such Order by personal service, facsimile service, or

otherwise, to hold and retain within their control, and otherwise prevent, any withdrawal,

transfer, pledge, encumbrance, assignment, dissipation, concealment or other disposal of any

assets, funds, or other property (including money, real or personal property, securities,

commodities, choses in action or other property of any kind whatsoever) of, held by, or under the

control of the Defendants, whether held in their names or for their direct or indirect beneficial

interest wherever situated;

                                                   III.

         An Order directing the Defendants to file with this Court and serve upon the

Commission, within three (3) business days, or within such extension of time as the Commission

staff agrees to, sworn accountings, signed by the Defendants, under penalty of perjury, setting

forth:

         (1) All assets, liabilities and property currently held, directly or indirectly, by or for the

benefit of each such Defendant, including, without limitation, bank accounts, brokerage

accounts, investments, business interests, loans, lines of credit, and real and personal property

wherever situated, describing each asset and liability, its current location and amount;




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       (2) All money, property, assets and income received by Defendants for their direct or

indirect benefit, at any time from January 1, 2016, through the date of such accounting,

describing the source, amount, disposition and current location of each of the items listed;

       (3) The names and last known addresses of all bailees, debtors, and other persons and

entities that currently are holding the assets, funds or property of such Defendants; and

       (4) All assets, funds, securities, and real or personal property received by such

       Defendants, or any other person controlled by them, from persons who provided money

to such Defendants in connection with the offer, purchase or sale of securities, from January 1,

2016 through the date of such accounting, and the disposition of such assets, funds, securities,

real or personal property;

                                                IV.

       An order prohibiting Defendants from altering, destroying, or concealing documents,

including documents concerning allegations of the Complaint or the assets or finances of any of

the Defendants;

                                                V.

       Ordering Defendants to disgorge all ill-gotten gains they received directly or indirectly,

with pre-judgment interest thereon, as a result of the alleged violations pursuant to 15 U.S.C.

§ 78u(d)(5) and Sections 6501(a)(1) and (a)(3) of the National Defense Authorization Act for

Fiscal Year 2021, Pub. L. No. 116-283, to be codified at 15 U.S.C. §§ 78u(d)(3) and 78u(d)(7);

                                                VI.

       Ordering Defendants to pay civil monetary penalties under Securities Act Section 20(d)

[15 U.S.C. § 77t(d)] and Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)];




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                                                VII.

       Permanently prohibiting Defendants from participating in any offering of a penny stock,

including engaging in activities with a broker, dealer, or issuer for purposes of issuing, trading,

or inducing or attempting to induce the purchase or sale of any penny stock, under Exchange Act

Section 21(d)(6) [15 U.S.C. § 78u(d)(6)]; and

                                                VIII.

       Granting any other and further relief this Court may deem just and proper.


       Dated: New York, New York
       April 14, 2022
       ____________________________________
       LARA S. MEHRABAN
       ACTING REGIONAL DIRECTOR
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